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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA
v.
SCOTT HOWARD JENKINS,

Defendant.

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Criminal No. 3:23-cr-00011-RSB

STIPULATION NO. 2

It is hereby stipulated and agreed between the United States and defendant Scott Howard

Jenkins, by and through undersigned counsel, that:

Jack Henry & Associates does not have any data centers or servers in the Commonwealth

of Virginia.

FOR THE UNITED STATES:

Ue

Celia Choy

Melanie Smith

Lina Peng

Counsel for the United States

FOR THE DEFENDANT:

Scott Howard Jenkins

OA

Philip Andonian
Joseph Caleb
Counsel for Defendant Scott Howard Jenkins

